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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

 Civil Action No. 1:22-cv-01247-NRN

 BEHAVIOR ANALYST CERTIFICATION BOARD, INC.,

                Plaintiff,

 v.

 MICHAEL MOATES, an individual;
 MISTY KIESCHNICK, an individual;
 LARRY KIESCHNICK, an individual; and
 THE GLOBAL INSTITUTE OF BEHAVIORAL PRACTITIONERS AND EXAMINERS.

                Defendant.


                                 ENTRY OF APPEARANCE


       Mark L. Sabey of Hall, Render, Killian, Heath & Lyman, P.C. enters his appearance in this

case on behalf of Plaintiff Behavior Analyst Certification Board, Inc.


       Respectfully submitted this 20th day of May, 2022.

                                             HALL, RENDER, KILLIAN, HEATH & LYMAN, P.C.

                                             s/ Mark L. Sabey
                                             Mark L. Sabey
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                                             ATTORNEYS FOR DEFENDANT
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                                CERTIFICATE OF SERVICE

       The undersigned certifies that on this 20th day of May, 2022, a true and correct copy of the
foregoing was served via CM/ECF upon the following:

Martin J. Champagne, Jr.
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Attorney for Plaintiffs

                                             /s/ Rebecca Gibson
                                             Rebecca Gibson, Legal Administrative Assistant




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